         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                       CRIMINAL NO. 1:02CR105



UNITED STATES OF AMERICA               )
                                       )
                                       )
           vs.                         )             ORDER
                                       )
                                       )
GLEN RANDELL RATHBONE                  )
                                       )


     THIS MATTER is before the Court on motion of Defendant’s counsel

to withdraw the motion to reduce sentence filed May 7, 2009.

     For the reasons stated in the motion to withdraw,

     IT IS, THEREFORE, ORDERED that counsel’s motion to withdraw

the motion for reduction of sentence filed May 7, 2009, is ALLOWED, and

such pleading is hereby deemed withdrawn.

                                    Signed: May 12, 2009




   Case 1:02-cr-00105-MR-WCM   Document 482    Filed 05/12/09   Page 1 of 1
